           Case 2:12-cr-00266-KJM Document 70 Filed 11/20/12 Page 1 of 4


1
2
3
4
5
6
7
8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
10                               ----oo0oo----
11
12   UNITED STATES OF AMERICA,               NO. Cr. 2:12-0266 WBS
13             Plaintiff,
                                             ORDER
14        v.
15   RANDY K. BARKER,
16             Defendant.
                                     /
17
18                               ----oo0oo----
19             Defendant, who is represented by appointed counsel
20   James R. Greiner in this action, has filed a pro se motion
21   entitled Motion To Make More Definite And Certain; And To Compel
22   Answers From Attorney James Ralph Greiner.
23             Because defendant is represented by counsel, with the
24   possible the exception of a motion to discharge his attorney, he
25   is not entitled to file motions pro se.         See United States v.
26   Bergman, 813 F.2d 1027 (9th Cir. 1987).         Further, there is no
27   authority for a court to compel an attorney to answer questions
28   for his client.    To do so would constitute an unwarranted

                                         1
           Case 2:12-cr-00266-KJM Document 70 Filed 11/20/12 Page 2 of 4


1    intrusion into the attorney-client relationship.         See Bregen v.
2    Warden, Lebanon Corr. Inst., No. Civ. 1:09-347, 2010 WL 5811433,
3    at *9 (S.D. Ohio June 18, 2010) (“Court is without the authority
4    to order a face-to-face meeting between an attorney and his or
5    her client or to interfere with the attorney-client
6    relationship.”).
7              In his written motion, and again at oral argument on
8    the motion, defendant also asks the court to reinstate his former
9    lawyer, Joseph Wiseman, as his counsel of record.1         Mr. Wiseman,
10   who was originally appointed under the Criminal Justice Act to
11   represent defendant, was granted leave to withdraw on October 29,
12   2012 after he was sued in state court by the defendant.          Mr.
13   Wiseman argued that it would be a conflict of interest to compel
14   him to represent a client at the same time as he was required to
15   defend himself in a civil suit by the same client.         The United
16   States Attorney took the position that this court had no choice
17   but to grant Mr. Wiseman’s motion to withdraw, and the court
18   agreed.
19             Defendant also in his motion requests further
20   explanation for why he was detained following the hearing on
21   October 29, 2012.   Title 18 U.S.C. § 3142 compels the court to
22   order the detention of a defendant before trial whenever the
23   court finds that no condition or combination of conditions will
24
25        1
               The court notes that at the same time defendant asks
     for reappointment of Mr. Wiseman he has filed a pleading alleging
26   that Mr. Wiseman “did not provide competent council (sic) and was
     a criminal detriment and fully responsible for the false arrest
27   and imprisonment of Randy K. Barker.” He has also apparently
     filed a complaint with the State Bar of California asking that
28   Mr. Wiseman be disbarred.

                                        2
             Case 2:12-cr-00266-KJM Document 70 Filed 11/20/12 Page 3 of 4


1    reasonably assure the appearance of the defendant.           As the court
2    attempted to explain at the hearing, it no longer believed there
3    was any set of conditions that could reasonably assure future
4    appearances of the defendant.
5               Although the court had previously allowed defendant to
6    remain at liberty on an unsecured bond, the circumstances had
7    significantly changed since that order was issued.           First,
8    defendant had recently filed numerous documents which indicated
9    he did not recognize the authority of the court to enter its
10   orders.   If a defendant does not acknowledge the validity of the
11   court’s orders, the court cannot reasonably expect him to obey
12   them.   Second, the court had considered the presence of Mr.
13   Wiseman as defendant’s attorney to be a stabilizing influence.
14   Without Mr. Wiseman, there was no longer any effective way the
15   court could communicate with defendant.
16              When, at the subsequent hearing on Defendant’s Motion
17   to Reopen Detention Hearing, on November 13, 2012, it appeared
18   that defendant no longer challenged the validity of the court’s
19   orders, and it appeared that he had a working relationship with
20   his new attorney, Mr. Greiner, the court restored defendant to
21   bail.   From his most recent filings, however, again challenging
22   the authority of the court and now criticizing Mr. Greiner, it
23   appears that both of those appearances may have been false.             The
24   court expresses no opinion in this Order as to whether the bail
25   issue may have to be again reexamined.
26              As a Senior Judge of this court, the undersigned has
27   agreed to take on a substantial number of other cases at the end
28   of this month which will need to be reassigned to me due to the

                                          3
              Case 2:12-cr-00266-KJM Document 70 Filed 11/20/12 Page 4 of 4


1    full retirement of another judge of this court.           If I am to give
2    proper attention to those and other matters assigned to me, I
3    will not have the time to deal with all of the nonsense I
4    anticipate will continue to be generated by the defendant in this
5    matter.    Since the defendant has accused me of conspiring with
6    the prosecutor, Mr. Wiseman, Mr. Greiner and others against him,
7    and he obviously regards me as his adversary, he should have no
8    objection to this case being reassigned to another judge.
9                IT IS THEREFORE ORDERED that defendant’s Motion To Make
10   More Definite And Certain; And To Compel Answers From Attorney
11   James Ralph Greiner be, and the same hereby is, DENIED;
12               IT IS FURTHER ORDERED that defendant’s request to have
13   Joseph Wiseman reappointed as his attorney be, and the same
14   hereby is DENIED;
15               AND IT IS FURTHER ORDERED that the Clerk present this
16   case to the Chief Judge for reassignment to another judge for all
17   future proceedings.
18   DATED:    November 20, 2012
19
20
21
22
23
24
25
26
27
28

                                           4
